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               EXHIBIT A
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                                                                      Michael B. Bernstein
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                                                                      Michael.B.Bernstein@arnoldporter.com




                                                                                CONFIDENTIAL

                                                     December 13, 2024


     VIA EMAIL

     Permerger Notification Office                         Department of Justice
     Bureau of Competition                                 Antitrust Division
     Federal Trade Commission                              Premerger and Division Statistics Unit
     Constitution Center Building                          450 Fifth Street, N.W.
     400 7th St., S.W., 5th Floor, Room 5301               Suite 1100
     Washington, D.C. 20024                                Washington, DC 20530-0001
     (premerger@ftc.gov)                                   (premerger@usdoj.gov)



             Re:     Transaction File No. 231-0004 – Acquisition by The Kroger Co. of
                     Albertsons Companies, Inc.

     Dear Sir or Madam:

            Please be advised that our client, The Kroger Co., hereby withdraws the above-
     referenced Notification and Report Form pursuant to 16 C.F.R. § 803.12, effective
     December 12, 2024.

             Please contact me at (202) 942-5227 if you have any questions.

                                                     Sincerely




                                                     Michael B. Bernstein




Arnold & Porter Kaye Scholer LLP
601 Massachusetts Ave, NW | Washington, DC 20001-3743 | www.arnoldporter.com
